 

Case 2:Ol-cv-00539-GAP Document 147 Filed 02/23/05 Page 1 of 8 Page|D 989

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United States Court of Appeals_

For the Eleventh Circuit
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Nos. 04-12748 & 04_13424 U,S_ COURT~ OP~KPYWAP§
ELEVENTH CIRCUIT
District Court Docket No. Dec 28’ 2004
01-00539-CV-FTM-31-SPC THOMAS K_ KAHN
CLERK

 

 

 

SALVADOR JIMENEZ-GARCIA, et al.,

Plaintiffs,

RUBEN GOMEZ-ORTIZ,
GERARDO JlMENEZ-GONZALEZ,
ALEJANDRO JUAN-PEREZ,
RAFAEL JUAN-PEREZ,

JUAN ANTONIO-MALDONADO,
GILBERTO MORENO-MENDO,

Plaintiffs-Appellants,

 

VCI`SU.S

 

SORRELLS BROTHERS PACKING COMPANY, INC.,

Defendant-Appellee.

Appeals from the United States District Court
for the Middle District of Florida

 

JUDGMENT

lt is hereby ordered, adjudged, and decreed that the attached opinion included herein by
reference, is entered as the judgment of this Court.

 
 
 

Entered: December 28, 2004
For the Court: Thomas K. Kahn, Clerk
By: Jackson, Jarvis

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CORRECTED [DO NOT PUBLISH]

 

IN THE UNITED STATES COURT OF PEALS j}_:j}jLEj[)
U‘S. COURT OF APPEALS

FOR THE ELEVENTH CIRCUI ELEVENTH CIRCUIT
DECE,MBER, 28, 2004

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Nos. 04-12748 & 04-13424 CLERK
Non-Argument Calendar
D. C. Docket No. 01-00539-CV-FTM-31SPC
SALVADOR JIMENEZ-GARCIA, et al.,
Plaintiffs,

GERARDO JIMENEZ-GONZALEZ,
ALEJANDRO JUAN-PEREZ,
RAFAEL JUAN-PEREZ,
GILBERTO MORENO-MENDO,

PlaintiffS-Appellants,

V€I`SUS

SORRELLS BROTHERS PACKING COMPANY, INC.,

Defendant-Appellee.

 

Appeals from the United States District Court
for the Middle District of Florida

 

(Decernber 28, 2004)

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Appeals from the United States District Court
for the Middle Distn`ct of Florida

 

(DECEMBER 28, 2004)

Before CARNES, HULL and WILSON, Circuit Judges.

PER CURIAM:

The plaintiff/appellants are four Mexican nationals who came to the United
States pursuant to the federal H-2A nonimmigrant temporary worker program in
order to harvest oranges for defendant/appellee Sorrells Brothers Packing
Company, Inc. during the 1999-2000 harvest season. Sorrells Was unhappy with
the plaintiffs’ productivity and dismissed them shortly after they began working
The plaintiffs sued Sorrells claiming that it breached a provision in the
employment contract that guaranteed the Worker be offered employment for at
least three-fourths of the workdays in the total period of the work contract. The
district court found that Sorrells had violated this provision and that the plaintiffs
were entitled to that guaranteed pay.

The plaintiffs then filed a motion for costs and fees pursuant to Florida
Statutes § 448.08, which allows for costs and attorney’s fees in actions for unpaid

wages. T he district court denied that motion, holding that the underlying action

 

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was not for “unpaid wages”'as that term is defined under Florida law. This is the

plaintiffs’ appeal from that decision.

The facts as they relate to the issue in this case are not in dispute. The
employment relationship between Sorrells and each worker was governed by an
employment contract, known as a clearance order contract. Each clearance order
contract contained the following provision, known as a “three-fourths guarantee”:

_ The employer will guarantee to offer the worker employment for at least
three-fourths of the workdays of the total periods during which the work
contract and all extensions thereof are in effect, beginning with the first
workday after the arrival of the worker at the place of employment and
ending on the expiration date specified in the work contract or in its
extensions, if any. If the employer affords the worker during the total work
contract period less employment than required under this work guarantee,
the employer shall pay such worker the amount which the worker would
have earned had the worker, in fact, worked for the guaranteed number of

days.l
After the plaintiffs prevailed in demonstrating that the Sorrells violated this
provision, they filed a motion for costs and attorney fees pursuant to Fla. Stat. §
448.08.

Section 448.08 states: “The court may award to the prevailing party in an
action for unpaid wages costs of the action and a reasonable attorney’s fee.” Fla.

Stat. § 448.08. The sole issue is whether the suit against Sorrells for breaching the

 

‘ Thi`s provision was included in order to comply with 20 C.F.R. § 655.102(b)(6), a
Department of Labor regulation that requires workers in this kind of employment relationship to

have a “three-fouiths guarantee.”

 

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“three-fourths guarantee” was an “action for unpaid wages.” The district court
decided, based on Florida law, that it was not.

The district court’s decision not to grant costs and fees under § 448.08 was
based entirely on an interpretation of state law, and so our review of that decision
is M_Q. See Davis v. Nat’l Med. Enters.. Inc.. 253 F.3d 1314, 1318-19 (1 lth
Cir. 2001). Because we are dealing with Florida substantive law, “we must decide
the case the way it appears the Florida Supreme Court would decide it. In the
absence of any Florida Supreme Court decisions close enough on point, we look to
decisions of the Florida intermediate appellate courts and follow them unless there
is some really persuasive indication that the Florida Supreme Court would go the
other way.” KMS Rest. Corn. v. Wendv’s Int’l. Inc.. 361 F.3d 1321, 1325 (1 lth

cir. 2004).

It is “a well-established rule in Florida that statutes awarding attorney’s fees
must be strictly construed.” Dade Coungg v. Pena, 664 So. 2d 959, 960 (Fla.
1995). In line with that reasoning, § 448.08 “applies to actions to recover accrued
but unpaid wages, and does not apply in an action for breach of an employment

contract where the damages are unaccrued wages.” Joseph v. Commonwealth

Land Title Ins. Co., 707 So. 2d 376, 377 (Fla. 5th DCA 1998). In other words,

Florida law requires that, for § 448.08 to apply, the unpaid wages at issue be

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accrued. LL
In order for unpaid wages pto be accrued, the wages must have been “due and

see also

 

vowing” and the employer failed to pay them. QL/i_$, 253 F.3d at 1321;
_Rga, 664 So. 2d at 960 (stressing the necessity that the action be for “back wages”
in order for § 448.08 to apply); Coffie v. Dist. Bd. of Trs.. Miami-Dade Cmtv.
_C_c_)l_L, 739 So. 2d 148, 149 (Fla. 3d DCA 1999) (holding that wages were accrued
where the plaintiff was promised an additional salary based on performing

additional duties and the higher salary was not paid even though the additional

duties were performed); Commonwealth Land Title, 707 So. 2d at 377 (holding

 

that wages are not accrued where the employer breached a contract to employ a
worker for three years by discharging him after three months); Woods v. United
Indu§., Cogg., 596 So.2d 801, 802 (Fla. lst DCA 1992) (holding that unpaid
severance was accrued where entitlement to severance pay was based on the time
the employee was working for the company). In the cases where § 448.08 has
been held to apply, the employee had already done the work that entitled them to
the wages_that is what made the wages accrue. §eiggiga_l_ly i_cL

T he Commonwealth Land Title case is most analogous to the present

 

situation In that case, the employer agreed in the contract to employ the worker

for three years. Commonwealth Land Title, 707 So.2d at 37 7. After three months,

 

 

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the employer discharged him. I_d_. In that case, the Florida appellate court held
that, “because`]oseph was suing for money that allegedly would have been due him
had his employment not been terminated, that is, for unaccrued wages, . . . the

[lower] court erred in applying the statute.” I_d_. Joseph was suing for wages based

on something other than work he had done.

 

The present situation is much like Commonwealth Land Title. The plaintiffs

sued for money due to them, but not because of work they had done. In such an

  
  

action, the wages have not accrued, and § 448.08 does not appl .2 §§Q _id_. Florida

law dictates that the plaintiffs are not entitled to costs and atto ey’s fe s undr §

448.08.

AFFIRMED.

 

2 The plaintiffs argue that Joseph v. Okeelanta Co;p., 656 So. 2d
1995), suggests that this is an action for unpaid wages within the me `
plaintiffs’ reliance on Okeelanta is misplaced. The Okeelanta decisio
action, based on the employer’s breach of a “three-fourths guarantee” like the one at issue here,
Was an action for unpaid wages for the purpose of determining the applicable statute of

limitations 656 So. 2d at 1319.

The plaintiffs contend that because the Okeelanta court called that situation an action for
unpaid wages for purposes of the statute of limitations, we should assume that they would have
448.08. We cannot make this assumption We appreciate that

done the same for purposes of §
the statutes share a common terrn, but that does not mean they necessarily share the same

definition Okeelanta was construing a statute of limitations, not a statute providing for attorney
fees, so the court was not dealing with the “well-established rule in Florida that statutes
awarding attorney’s fees must be strictly construed.” P_e_ig, 664 So. 2d at 960. Neither was the
court in Okeelanta affected by the very restrictive definition of “unpaid wages” under § 448.08
that has developed under Florida law. The Okeelanta court had no occasion whatsoever to
decide whether that action qualified as an action for unpaid wages under § 448.08, and so that

decision does not change our analysis.

  
 

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Case No.

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Sorrells Brof_hers Packing Company, Inc.,

Appellee

-l (see reverse) govern costs which are taxable in

Fed.R.App.P. 39 and llth Cir. R. 39
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I hereby swear or affirm that the costs claimed were actuall
Costs on counsel/parties of record.

pate Sign¢d; January 7, 2005 Signature:
Sorrells Brothers Packing Companv. lnc.

Attomey for:
(Type or print name of client)

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_Costs are hereby taxed in the amount of $ éé» 30 against

and are payable directly to O‘- \Oil)'€/\ le e,

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appe//

Thomas K. Kahn, C]erk

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